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      199A (Rev. 6/97) Order Setting Conditions of Release                                                               Page 1 of
                                                                                                                                     3   Pages




                                                                                                                             FILED
                                                                                                                        IN OPEN COURT



                                      United States District Court!                                                            2 5

                                                                                                                CLERK US DISTRICT COURT
                                                  Eastern         District of          Virginia                    ai PYANDRIA VIRGINIA




                   United States of America
                                                                       ORDER SETTING CONDITIONS
                                                                                       OF RELEASE
                                 V.

                                                                   Case Number:       v
                            Defendant


IT IS ORDERED that the release of the defendant is subject to the following conditions:


           (1)   The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.


           (2)   The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
                 address and telephone number.


           (3)   The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as


                 directed. The defendant shall appear at (if blank, to be notified)                 United States District Court

                    401 Courthouse So.. Alexandria. VA          nn S^iPT- ^> i            *^° '       C'^f I 0'.
                                                                                              Date and Time




                                          Release on Personal Recognizance or Unsecured Bond

IT IS FURTHER ORDERED that the defendant be released provided that:


( v      ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.


(        ) (S) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

                                                                                                              dollars
                 in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




                    DISTRIBUTION:        COURT      DEFENDANT   PRETRIAL    SERVICES       US. ATTORNEY         U.S. MARSHAL
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         AO I99A fRev, l/98X)ldei Setting Conditions of Release




                                             Additional Conditions of Release
            Upon finding that release by one of the above methods will not by itself reasonably assure the appearance
         of the defendant and the safety of other persons and the community, it is FURTHER ORDERED that the
         release of the defendant is subject to the conditions marked below:

         (     ) (6) The defendant is placed in the custody of:
                         (Name of person or organization)
                         (Address)
                   (City and State)                                                       (Tel.No.)
         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort
         to assure the appearance of the defendant at all scheduled court proceedings, and ( c) to notify the court
         immediately in the event the defendant violates any conditions of release or disappears.

                                                                           Signed:,
                                                                                      Custodian of Proxy
         (      )(7) The defendant shall:
                  (     ) (a) maintain or actively seek employment.
                  (     ) J» maintain or commence an educational program.
                            c) abide by the following restriction on his personal associations, place of abode, or travel:




                   (    ) (d) avoid all contact with the following named persons, who are considered either alleged victims
                                or potential witnesses:


                   (    ) (e) report on a regular basis to the following agency:
                   (    ) (f) comply with the following curfew:                           V_

                                 refrain from possessing a firearm, destructive device, or other dangerous weapons.
                   (    ) (h) refrain from excessive use of alcohol, and any use or unlawful possession of a narcotic drug or
                              controlled substance defined in 21 U.S.C. 802 unless prescribed by a licensed medical person.
                   (    ) (I) undergo medical or psychiatric treatment and/or remain in an institution, as follows:

                   (     ) (j) execute a bond or an agreement to forfeit upon failing to appear as required, the following sum
                                of money or designated property:


                   (     ) (k) post with the court the following indicia of ownership of the above-described property, or the
                               following amount or percentage of the above-described money:

                   (     ) (1) execute a bail bond with solvent sureties in the amount of $
                   (     ) (m) return to custody each (week) day as of            o'clock after being release each (week) day as
                                 bf                o'clock for employment, schooling, or the following limited purpose(s):
                                  surrender any passport or other travel documents to:
                   (     ) (o) obtain no passport or travel documents.
                   (     ) (p) undergo substance abuse testing and/or treatment as directed at the direction of Pretrial
                                  Services.
                   (     ) (q) the defendant shall not operate a motor vehicle without a valid license.
                   (     ) (r) the defendant is placed on home detention with electronic monitoring as directed.                            ,
                   (-0(s)            //if i^M-l^^^M^1^- ^ fajL^fiZj? Yj2^j(X Pi & ^H



WHITE COPY-COURT               YELLOW - DEFENOANT                 BLUE - U.S. ATTORNEY         PINK - U.S. MARSHAL   GREEN - PRETRIAL SERVICES
                 Case 1:07-cr-00265-JCC Document 7 Filed 07/25/07 Page 3 of 3 PageID# 31
  ^AO 799C (Rev. 6/97) Advice of Penalties
                                                                                                                          «h       Pflgps

                                                  Advice of Penalties and Sanctions
TO THE DEFENDANT:


YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:




                                             SHEE?
    Federal law makes it a crime punishable by up to 10 years of imprisonment and




    If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service
you may be prosecuted for fa ling to appear or surrender and additional punishment may be imposed. TyouTc^tlr
       nottTS                nnny ^ '• * imP?sonment' or ™Prisonment for a term of fifteen years or more, you shall be fined
       not more than $250,000 or imprisoned for not more than 10 years or both-
    (2> mnrf T6 SS?nnne ^ ^P.™011™111 for a term of five V^ or more, but less than fifteen years, you shall be fined not
        more than $250,000 or imprisoned for not more than five years or both-
    (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years or both-
    A ternTf T*™' T Sha" ?,^ ^ m°re than $100'°00 °r imP*soned «ot ™re than one ye'ar or bo^h '
«M  v a ffailure
addition,  -i P?to appear
                      C orimP°S
                            surrender fmlUre t0 3ppear
                                      may result  in the°rforfeiture
                                                            SUITenderofsha"
                                                                        any be in addition
                                                                            bond  posted. t0 the sentence for any other offense In

                                                  Acknowledgment of Defendant

    I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the SZJ^^ffitoSSS



                                                                                              Signature of Defendant


                                                                                                     Address


                                                                                City and State                            Telephone




                                               Directions to United States Marshal
     The defendant is ORDERED released after processing.
  ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the
     defendant has posted bond and/or complied with all other conditions for release. The defendant shall be produced befor^^ the
     appropriate judicial officer at the time and place specified, if still in custody.
     Date:

                                                                                          Signature of Judicial Officer




                                                                          United                                  Officer
                  DISTRIBUTION:       COURT   DEFENDANT     PRETRIAL SERVICE        U.S. ATTORNEY     US. MARSHAL
